       Case 1:20-cr-00661-CM Document 14 Filed 04/28/21 Page 1 of 1




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OW ER OF RECORD: SWITCH ESTATE,          LLC.


U !TED ST!\TES OF AM ERI CA                     CRIMINAL 0. 20 Cr. 66 1 (C M)
                                                UNIT ED STATES DI STRICT COU RT
             vs.                                SOUTHER DISTRI CT OF I EW YORK

 AM IR RR\ JNQ FLMAAN I
   ( ame of Defendant)


TO: CITYff OW      CLE RK                       RE: PLAT NO. 8B, LOT I


     TOW     OF:                                A DDRESS OF PROPERT Y:

RICIIMQN D                                      336 SWITCH ROA D

WA SH INGTON CQ l JNTY                          HOPE VA LLEY, RHODE ISLA D 02832


      OTICE l H EREBY GIVE OF A ACTIO I T HE A BOVE-E T ITLED CASE
I VOLVI G TITLE TO TH E FOLLOW! G DESCRIB ED PROPERT Y . VALUE D I T HE
/\MOU T OF $ 625,000.00. THE AMOU T OF T H E LEIN: $625.000.00.

THE DEFE DA T I T HE A BOVE-E T ITLED ACTIO HA BEE ORDERED BY TH E
110 . CO L LEE McM AI 10 . CHI EF JUDGE OF T HE U ITE D STATES DI STRI CT COURT
FOR T l IE SOUTI !ER DI STRI CT OF EW YROK, TO FILE T HIS OT ICE OF LIE 0
PLAT 0. 8. LOT 0. I OTICE OF LI E IS HEREBY GIVE .




                                                      HO . COL LEE McMAHO
                                                      ~         GE, UNITED STATES
                                                      DISTRI CT COU RT FO R T l IE
                                                      SOUTHERN DISTRICT OF
                                                        EW YO RK

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